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              EXHIBIT “2”
        Case 1:23-cv-03413-RPK-RER         Document 1-4 Filed 05/05/23 Page 2 of 6 PageID #: 73
                            Government Employees Insurance Company, et al v. Orthopain Supply Inc., et al
                                              Exhibit "2" - Representative Sample of Fraudulent Claims Identified to Date


RICO                                                Date of                                       Date of     HCPCS
             Defendant           Claim_Number                         Document Mailed                                            Product Description          Charge
Event                                               Mailing                                       Service      Code
  1     Orthopain Supply Inc.   0468004490101049   4/19/2021    NF3 Form / HCFA 1500 Form        4/13/2021     E0761            OrthoCor / PEMF Device        $4,500.00
  2     Orthopain Supply Inc.   0468004490101049   4/19/2021    NF3 Form / HCFA 1500 Form        4/13/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
  3     Orthopain Supply Inc.   0468004490101049   4/19/2021    NF3 Form / HCFA 1500 Form        4/13/2021    A9901                     Delivery               $150.00
  4     Orthopain Supply Inc.   0468004490101049   4/19/2021    NF3 Form / HCFA 1500 Form        4/13/2021     98960                   Education               $150.00
  5     Orthopain Supply Inc.   0397770530101149   4/19/2021    NF3 Form / HCFA 1500 Form        4/14/2021     E0761            OrthoCor / PEMF Device        $4,500.00
  6     Orthopain Supply Inc.   0397770530101149   4/19/2021    NF3 Form / HCFA 1500 Form        4/14/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
  7     Orthopain Supply Inc.   0397770530101149   4/19/2021    NF3 Form / HCFA 1500 Form        4/14/2021     98960                   Education               $150.00
  8     Orthopain Supply Inc.   0397770530101149   4/19/2021    NF3 Form / HCFA 1500 Form        4/14/2021    A9901                     Delivery               $150.00
  9     Orthopain Supply Inc.   8668521980000005   4/19/2021    NF3 Form / HCFA 1500 Form        4/15/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 10     Orthopain Supply Inc.   8668521980000005   4/19/2021    NF3 Form / HCFA 1500 Form        4/15/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 11     Orthopain Supply Inc.   8668521980000005   4/19/2021    NF3 Form / HCFA 1500 Form        4/15/2021    A9901                     Delivery               $150.00
 12     Orthopain Supply Inc.   8668521980000005   4/19/2021    NF3 Form / HCFA 1500 Form        4/15/2021     98960                   Education               $150.00
 13     Orthopain Supply Inc.   0680274820000001   4/22/2021    NF3 Form / HCFA 1500 Form        4/15/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 14     Orthopain Supply Inc.   0680274820000001   4/22/2021    NF3 Form / HCFA 1500 Form        4/15/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 15     Orthopain Supply Inc.   0680274820000001   4/22/2021    NF3 Form / HCFA 1500 Form        4/15/2021     98960                   Education               $150.00
 16     Orthopain Supply Inc.   0680274820000001   4/22/2021    NF3 Form / HCFA 1500 Form        4/15/2021    A9901                     Delivery               $150.00
 17     Orthopain Supply Inc.   0605824430101041   5/14/2021    NF3 Form / HCFA 1500 Form        4/28/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 18     Orthopain Supply Inc.   0605824430101041   5/14/2021    NF3 Form / HCFA 1500 Form        4/28/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 19     Orthopain Supply Inc.   0605824430101041   5/14/2021    NF3 Form / HCFA 1500 Form        4/28/2021     98960                   Education               $150.00
 20     Orthopain Supply Inc.   0605824430101041   5/14/2021    NF3 Form / HCFA 1500 Form        4/28/2021    A9901                     Delivery               $150.00
 21     Orthopain Supply Inc.   0562847430000008   5/14/2021    NF3 Form / HCFA 1500 Form         5/9/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 22     Orthopain Supply Inc.   0562847430000008   5/14/2021    NF3 Form / HCFA 1500 Form         5/9/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 23     Orthopain Supply Inc.   0562847430000008   5/14/2021    NF3 Form / HCFA 1500 Form         5/9/2021    A9901                     Delivery               $150.00
 24     Orthopain Supply Inc.   0562847430000008   5/14/2021    NF3 Form / HCFA 1500 Form         5/9/2021     98960                   Education               $150.00
 25     Orthopain Supply Inc.   0420430990101076   5/14/2021    NF3 Form / HCFA 1500 Form        4/27/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 26     Orthopain Supply Inc.   0420430990101076   5/14/2021    NF3 Form / HCFA 1500 Form        4/27/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 27     Orthopain Supply Inc.   0420430990101076   5/14/2021    NF3 Form / HCFA 1500 Form        4/27/2021     98960                   Education               $150.00
 28     Orthopain Supply Inc.   0420430990101076   5/14/2021    NF3 Form / HCFA 1500 Form        4/27/2021    A9901                     Delivery               $150.00
 29     Orthopain Supply Inc.   8675214550000002   5/14/2021    NF3 Form / HCFA 1500 Form        4/28/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 30     Orthopain Supply Inc.   8675214550000002   5/14/2021    NF3 Form / HCFA 1500 Form        4/28/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 31     Orthopain Supply Inc.   8675214550000002   5/14/2021    NF3 Form / HCFA 1500 Form        4/28/2021    A9901                     Delivery               $150.00
 32     Orthopain Supply Inc.   8675214550000002   5/14/2021    NF3 Form / HCFA 1500 Form        4/28/2021     98960                   Education               $150.00
 33     Orthopain Supply Inc.   0680274820000001   5/14/2021    NF3 Form / HCFA 1500 Form        4/27/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 34     Orthopain Supply Inc.   0680274820000001   5/14/2021    NF3 Form / HCFA 1500 Form        4/27/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 35     Orthopain Supply Inc.   0680274820000001   5/14/2021    NF3 Form / HCFA 1500 Form        4/27/2021     98960                   Education               $150.00
 36     Orthopain Supply Inc.   0680274820000001   5/14/2021    NF3 Form / HCFA 1500 Form        4/27/2021    A9901                     Delivery               $150.00
 37     Orthopain Supply Inc.   0631038220101025   5/18/2021    NF3 Form / HCFA 1500 Form        5/12/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 38     Orthopain Supply Inc.   0631038220101025   5/18/2021    NF3 Form / HCFA 1500 Form        5/12/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 39     Orthopain Supply Inc.   0631038220101025   5/18/2021    NF3 Form / HCFA 1500 Form        5/12/2021     98960                   Education               $150.00
 40     Orthopain Supply Inc.   0631038220101025   5/18/2021    NF3 Form / HCFA 1500 Form        5/12/2021    A9901                     Delivery               $150.00
 41     Orthopain Supply Inc.   0631038220101025   5/18/2021    NF3 Form / HCFA 1500 Form         5/1/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 42     Orthopain Supply Inc.   0631038220101025   5/18/2021    NF3 Form / HCFA 1500 Form         5/1/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 43     Orthopain Supply Inc.   0631038220101025   5/18/2021    NF3 Form / HCFA 1500 Form         5/1/2021     98960                   Education               $150.00
 44     Orthopain Supply Inc.   0631038220101025   5/18/2021    NF3 Form / HCFA 1500 Form         5/1/2021    A9901                     Delivery               $150.00
 45     Orthopain Supply Inc.   8714453450000001   5/18/2021    NF3 Form / HCFA 1500 Form        4/30/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 46     Orthopain Supply Inc.   8714453450000001   5/18/2021    NF3 Form / HCFA 1500 Form        4/30/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 47     Orthopain Supply Inc.   8714453450000001   5/18/2021    NF3 Form / HCFA 1500 Form        4/30/2021     98960                   Education               $150.00
 48     Orthopain Supply Inc.   8714453450000001   5/18/2021    NF3 Form / HCFA 1500 Form        4/30/2021    A9901                     Delivery               $150.00
 49     Orthopain Supply Inc.   0680888730000001   5/18/2021    NF3 Form / HCFA 1500 Form         5/4/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 50     Orthopain Supply Inc.   0680888730000001   5/18/2021    NF3 Form / HCFA 1500 Form         5/4/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 51     Orthopain Supply Inc.   0680888730000001   5/18/2021    NF3 Form / HCFA 1500 Form         5/4/2021     98960                   Education               $150.00
 52     Orthopain Supply Inc.   0680888730000001   5/18/2021    NF3 Form / HCFA 1500 Form         5/4/2021    A9901                     Delivery               $150.00
 53     Orthopain Supply Inc.   0420430990101076   5/18/2021    NF3 Form / HCFA 1500 Form        4/27/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 54     Orthopain Supply Inc.   0420430990101076   5/18/2021    NF3 Form / HCFA 1500 Form        4/27/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 55     Orthopain Supply Inc.   0420430990101076   5/18/2021    NF3 Form / HCFA 1500 Form        4/27/2021     98960                   Education               $150.00
 56     Orthopain Supply Inc.   0420430990101076   5/18/2021    NF3 Form / HCFA 1500 Form        4/27/2021    A9901                     Delivery               $150.00
 57     Orthopain Supply Inc.   0676122790000001   6/14/2021    NF3 Form / HCFA 1500 Form         6/3/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 58     Orthopain Supply Inc.   0676122790000001   6/14/2021    NF3 Form / HCFA 1500 Form         6/3/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 59     Orthopain Supply Inc.   0676122790000001   6/14/2021    NF3 Form / HCFA 1500 Form         6/3/2021    A9901                     Delivery               $150.00
 60     Orthopain Supply Inc.   0676122790000001   6/14/2021    NF3 Form / HCFA 1500 Form         6/3/2021     98960                   Education               $150.00
 61     Orthopain Supply Inc.   0527402440101064   6/14/2021    NF3 Form / HCFA 1500 Form         6/2/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 62     Orthopain Supply Inc.   0527402440101064   6/14/2021    NF3 Form / HCFA 1500 Form         6/2/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 63     Orthopain Supply Inc.   0527402440101064   6/14/2021    NF3 Form / HCFA 1500 Form         6/2/2021     98960                   Education               $150.00
 64     Orthopain Supply Inc.   0527402440101064   6/14/2021    NF3 Form / HCFA 1500 Form         6/2/2021    A9901                     Delivery               $150.00
 65     Orthopain Supply Inc.   0527402440101064   6/14/2021    NF3 Form / HCFA 1500 Form         6/2/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 66     Orthopain Supply Inc.   0527402440101064   6/14/2021    NF3 Form / HCFA 1500 Form         6/2/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 67     Orthopain Supply Inc.   0527402440101064   6/14/2021    NF3 Form / HCFA 1500 Form         6/2/2021     98960                   Education               $150.00
 68     Orthopain Supply Inc.   0527402440101064   6/14/2021    NF3 Form / HCFA 1500 Form         6/2/2021    A9901                     Delivery               $150.00
 69     Orthopain Supply Inc.   0484824860101046   6/14/2021    NF3 Form / HCFA 1500 Form         6/3/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 70     Orthopain Supply Inc.   0484824860101046   6/14/2021    NF3 Form / HCFA 1500 Form         6/3/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 71     Orthopain Supply Inc.   0484824860101046   6/14/2021    NF3 Form / HCFA 1500 Form         6/3/2021     98960                   Education               $150.00
 72     Orthopain Supply Inc.   0484824860101046   6/14/2021    NF3 Form / HCFA 1500 Form         6/3/2021    A9901                     Delivery               $150.00
 73     Orthopain Supply Inc.   8722431380000001   6/21/2021    NF3 Form / HCFA 1500 Form        6/15/2021     E0761            OrthoCor / PEMF Device        $4,500.00
        Case 1:23-cv-03413-RPK-RER         Document 1-4 Filed 05/05/23 Page 3 of 6 PageID #: 74
                            Government Employees Insurance Company, et al v. Orthopain Supply Inc., et al
                                              Exhibit "2" - Representative Sample of Fraudulent Claims Identified to Date


RICO                                                Date of                                       Date of     HCPCS
             Defendant           Claim_Number                         Document Mailed                                            Product Description          Charge
Event                                               Mailing                                       Service      Code
 74     Orthopain Supply Inc.   8722431380000001   6/21/2021    NF3 Form / HCFA 1500 Form        6/15/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 75     Orthopain Supply Inc.   8722431380000001   6/21/2021    NF3 Form / HCFA 1500 Form        6/15/2021     98960                   Education               $150.00
 76     Orthopain Supply Inc.   8722431380000001   6/21/2021    NF3 Form / HCFA 1500 Form        6/15/2021    A9901                     Delivery               $150.00
 77     Orthopain Supply Inc.   0645383590000002   7/12/2021    NF3 Form / HCFA 1500 Form        7/9/2021      E0761            OrthoCor / PEMF Device        $4,500.00
 78     Orthopain Supply Inc.   0645383590000002   7/12/2021    NF3 Form / HCFA 1500 Form        7/9/2021     A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 79     Orthopain Supply Inc.   0645383590000002   7/12/2021    NF3 Form / HCFA 1500 Form        7/9/2021      98960                   Education               $150.00
 80     Orthopain Supply Inc.   0645383590000002   7/12/2021    NF3 Form / HCFA 1500 Form        7/9/2021     A9901                     Delivery               $150.00
 81     Orthopain Supply Inc.   0503215600101049   7/12/2021    NF3 Form / HCFA 1500 Form        7/9/2021      E0761            OrthoCor / PEMF Device        $4,500.00
 82     Orthopain Supply Inc.   0503215600101049   7/12/2021    NF3 Form / HCFA 1500 Form        7/9/2021     A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 83     Orthopain Supply Inc.   0503215600101049   7/12/2021    NF3 Form / HCFA 1500 Form        7/9/2021      98960                   Education               $150.00
 84     Orthopain Supply Inc.   0503215600101049   7/12/2021    NF3 Form / HCFA 1500 Form        7/9/2021     A9901                     Delivery               $150.00
 85     Orthopain Supply Inc.   8722431380000001   7/12/2021    NF3 Form / HCFA 1500 Form        7/6/2021      E0761            OrthoCor / PEMF Device        $4,500.00
 86     Orthopain Supply Inc.   8722431380000001   7/12/2021    NF3 Form / HCFA 1500 Form        7/6/2021     A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 87     Orthopain Supply Inc.   8722431380000001   7/12/2021    NF3 Form / HCFA 1500 Form        7/6/2021      98960                   Education               $150.00
 88     Orthopain Supply Inc.   8722431380000001   7/12/2021    NF3 Form / HCFA 1500 Form        7/6/2021     A9901                     Delivery               $150.00
 89     Orthopain Supply Inc.   8722431380000001   7/15/2021    NF3 Form / HCFA 1500 Form        6/15/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 90     Orthopain Supply Inc.   8722431380000001   7/15/2021    NF3 Form / HCFA 1500 Form        6/15/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 91     Orthopain Supply Inc.   8722431380000001   7/15/2021    NF3 Form / HCFA 1500 Form        6/15/2021     98960                   Education               $150.00
 92     Orthopain Supply Inc.   8722431380000001   7/15/2021    NF3 Form / HCFA 1500 Form        6/15/2021    A9901                     Delivery               $150.00
 93     Orthopain Supply Inc.   8722431380000001   7/12/2021    NF3 Form / HCFA 1500 Form        7/6/2021      E0761            OrthoCor / PEMF Device        $4,500.00
 94     Orthopain Supply Inc.   8722431380000001   7/12/2021    NF3 Form / HCFA 1500 Form        7/6/2021     A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 95     Orthopain Supply Inc.   8722431380000001   7/12/2021    NF3 Form / HCFA 1500 Form        7/6/2021      98960                   Education               $150.00
 96     Orthopain Supply Inc.   8722431380000001   7/12/2021    NF3 Form / HCFA 1500 Form        7/6/2021     A9901                     Delivery               $150.00
 97     Orthopain Supply Inc.   8712815290000001   7/26/2021    NF3 Form / HCFA 1500 Form        7/21/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 98     Orthopain Supply Inc.   8712815290000001   7/26/2021    NF3 Form / HCFA 1500 Form        7/21/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 99     Orthopain Supply Inc.   8712815290000001   7/26/2021    NF3 Form / HCFA 1500 Form        7/21/2021     98960                   Education               $150.00
 100    Orthopain Supply Inc.   8712815290000001   7/26/2021    NF3 Form / HCFA 1500 Form        7/21/2021    A9901                     Delivery               $150.00
 101    Orthopain Supply Inc.   8722431380000001    8/4/2021    NF3 Form / HCFA 1500 Form         7/6/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 102    Orthopain Supply Inc.   8722431380000001    8/4/2021    NF3 Form / HCFA 1500 Form         7/6/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 103    Orthopain Supply Inc.   8722431380000001    8/4/2021    NF3 Form / HCFA 1500 Form         7/6/2021     98960                   Education               $150.00
 104    Orthopain Supply Inc.   8722431380000001    8/4/2021    NF3 Form / HCFA 1500 Form         7/6/2021    A9901                     Delivery               $150.00
 105    Orthopain Supply Inc.   0647734400000002    8/4/2021    NF3 Form / HCFA 1500 Form         7/2/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 106    Orthopain Supply Inc.   0647734400000002    8/4/2021    NF3 Form / HCFA 1500 Form         7/2/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 107    Orthopain Supply Inc.   0647734400000002    8/4/2021    NF3 Form / HCFA 1500 Form         7/2/2021     98960                   Education               $150.00
 108    Orthopain Supply Inc.   0647734400000002    8/4/2021    NF3 Form / HCFA 1500 Form         7/2/2021    A9901                     Delivery               $150.00
 109    Orthopain Supply Inc.   8702413980000003   8/24/2021    NF3 Form / HCFA 1500 Form        8/19/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 110    Orthopain Supply Inc.   8702413980000003   8/24/2021    NF3 Form / HCFA 1500 Form        8/19/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 111    Orthopain Supply Inc.   8702413980000003   8/24/2021    NF3 Form / HCFA 1500 Form        8/19/2021     98960                   Education               $150.00
 112    Orthopain Supply Inc.   8702413980000003   8/24/2021    NF3 Form / HCFA 1500 Form        8/19/2021    A9901                     Delivery               $150.00
 113    Orthopain Supply Inc.   0669325290000012   8/24/2021    NF3 Form / HCFA 1500 Form        8/18/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 114    Orthopain Supply Inc.   0669325290000012   8/24/2021    NF3 Form / HCFA 1500 Form        8/18/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 115    Orthopain Supply Inc.   0669325290000012   8/24/2021    NF3 Form / HCFA 1500 Form        8/18/2021     98960                   Education               $150.00
 116    Orthopain Supply Inc.   0669325290000012   8/24/2021    NF3 Form / HCFA 1500 Form        8/18/2021    A9901                     Delivery               $150.00
 117    Orthopain Supply Inc.   0264528210000002   8/24/2021    NF3 Form / HCFA 1500 Form        8/18/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 118    Orthopain Supply Inc.   0264528210000002   8/24/2021    NF3 Form / HCFA 1500 Form        8/18/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 119    Orthopain Supply Inc.   0264528210000002   8/24/2021    NF3 Form / HCFA 1500 Form        8/18/2021     98960                   Education               $150.00
 120    Orthopain Supply Inc.   0264528210000002   8/24/2021    NF3 Form / HCFA 1500 Form        8/18/2021    A9901                     Delivery               $150.00
 121    Orthopain Supply Inc.   0541891390101013   8/24/2021    NF3 Form / HCFA 1500 Form        8/18/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 122    Orthopain Supply Inc.   0541891390101013   8/24/2021    NF3 Form / HCFA 1500 Form        8/18/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 123    Orthopain Supply Inc.   0541891390101013   8/24/2021    NF3 Form / HCFA 1500 Form        8/18/2021     98960                   Education               $150.00
 124    Orthopain Supply Inc.   0541891390101013   8/24/2021    NF3 Form / HCFA 1500 Form        8/18/2021    A9901                     Delivery               $150.00
 125    Orthopain Supply Inc.   0631141520000002   8/24/2021    NF3 Form / HCFA 1500 Form        8/18/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 126    Orthopain Supply Inc.   0631141520000002   8/24/2021    NF3 Form / HCFA 1500 Form        8/18/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 127    Orthopain Supply Inc.   0631141520000002   8/24/2021    NF3 Form / HCFA 1500 Form        8/18/2021    A9901                     Delivery               $150.00
 128    Orthopain Supply Inc.   0631141520000002   8/24/2021    NF3 Form / HCFA 1500 Form        8/18/2021     98960                   Education               $150.00
 129    Orthopain Supply Inc.   0643106650000001   8/24/2021    NF3 Form / HCFA 1500 Form        8/18/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 130    Orthopain Supply Inc.   0643106650000001   8/24/2021    NF3 Form / HCFA 1500 Form        8/18/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 131    Orthopain Supply Inc.   0643106650000001   8/24/2021    NF3 Form / HCFA 1500 Form        8/18/2021     98960                   Education               $150.00
 132    Orthopain Supply Inc.   0643106650000001   8/24/2021    NF3 Form / HCFA 1500 Form        8/18/2021    A9901                     Delivery               $150.00
 133    Orthopain Supply Inc.   0250735880101075   8/30/2021    NF3 Form / HCFA 1500 Form        8/20/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 134    Orthopain Supply Inc.   0250735880101075   8/30/2021    NF3 Form / HCFA 1500 Form        8/20/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 135    Orthopain Supply Inc.   0250735880101075   8/30/2021    NF3 Form / HCFA 1500 Form        8/20/2021     98960                   Education               $150.00
 136    Orthopain Supply Inc.   0250735880101075   8/30/2021    NF3 Form / HCFA 1500 Form        8/20/2021    A9901                     Delivery               $150.00
 137    Orthopain Supply Inc.   8691478580000002   8/30/2021    NF3 Form / HCFA 1500 Form        8/19/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 138    Orthopain Supply Inc.   8691478580000002   8/30/2021    NF3 Form / HCFA 1500 Form        8/19/2021     98960                   Education               $150.00
 139    Orthopain Supply Inc.   8691478580000002   8/30/2021    NF3 Form / HCFA 1500 Form        8/19/2021    A9901                     Delivery               $150.00
 140    Orthopain Supply Inc.   8691478580000002   8/30/2021    NF3 Form / HCFA 1500 Form        8/19/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 141    Orthopain Supply Inc.   8708095010000001   9/13/2021    NF3 Form / HCFA 1500 Form        9/3/2021      E0761            OrthoCor / PEMF Device        $4,500.00
 142    Orthopain Supply Inc.   8708095010000001   9/13/2021    NF3 Form / HCFA 1500 Form        9/3/2021     A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 143    Orthopain Supply Inc.   8708095010000001   9/13/2021    NF3 Form / HCFA 1500 Form        9/3/2021     A9901                     Delivery               $150.00
 144    Orthopain Supply Inc.   8708095010000001   9/13/2021    NF3 Form / HCFA 1500 Form        9/3/2021      98960                   Education               $150.00
 145    Orthopain Supply Inc.   8710663330000001   9/13/2021    NF3 Form / HCFA 1500 Form        9/3/2021      E0761            OrthoCor / PEMF Device        $4,500.00
 146    Orthopain Supply Inc.   8710663330000001   9/13/2021    NF3 Form / HCFA 1500 Form        9/3/2021     A9900         Pods for OrthoCor / PEMF Device   $1,275.00
        Case 1:23-cv-03413-RPK-RER         Document 1-4 Filed 05/05/23 Page 4 of 6 PageID #: 75
                            Government Employees Insurance Company, et al v. Orthopain Supply Inc., et al
                                              Exhibit "2" - Representative Sample of Fraudulent Claims Identified to Date


RICO                                                Date of                                        Date of    HCPCS
             Defendant           Claim_Number                         Document Mailed                                            Product Description          Charge
Event                                               Mailing                                        Service     Code
 147    Orthopain Supply Inc.   8710663330000001   9/13/2021    NF3 Form / HCFA 1500 Form         9/3/2021     98960                   Education               $150.00
 148    Orthopain Supply Inc.   8710663330000001   9/13/2021    NF3 Form / HCFA 1500 Form         9/3/2021    A9901                     Delivery               $150.00
 149    Orthopain Supply Inc.   8704992320000002   9/13/2021    NF3 Form / HCFA 1500 Form         9/3/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 150    Orthopain Supply Inc.   8704992320000002   9/13/2021    NF3 Form / HCFA 1500 Form         9/3/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 151    Orthopain Supply Inc.   8704992320000002   9/13/2021    NF3 Form / HCFA 1500 Form         9/3/2021    A9901                     Delivery               $150.00
 152    Orthopain Supply Inc.   8704992320000002   9/13/2021    NF3 Form / HCFA 1500 Form         9/3/2021     98960                   Education               $150.00
 153    Orthopain Supply Inc.   8708095010000001   9/13/2021    NF3 Form / HCFA 1500 Form         9/3/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 154    Orthopain Supply Inc.   8708095010000001   9/13/2021    NF3 Form / HCFA 1500 Form         9/3/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 155    Orthopain Supply Inc.   8708095010000001   9/13/2021    NF3 Form / HCFA 1500 Form         9/3/2021     98960                   Education               $150.00
 156    Orthopain Supply Inc.   8708095010000001   9/13/2021    NF3 Form / HCFA 1500 Form         9/3/2021    A9901                     Delivery               $150.00
 157    Orthopain Supply Inc.   0397315610101102   9/13/2021    NF3 Form / HCFA 1500 Form         9/1/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 158    Orthopain Supply Inc.   0397315610101102   9/13/2021    NF3 Form / HCFA 1500 Form         9/1/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 159    Orthopain Supply Inc.   0397315610101102   9/13/2021    NF3 Form / HCFA 1500 Form         9/1/2021     98960                   Education               $150.00
 160    Orthopain Supply Inc.   0397315610101102   9/13/2021    NF3 Form / HCFA 1500 Form         9/1/2021    A9901                     Delivery               $150.00
 161    Orthopain Supply Inc.   0681845360000003   9/13/2021    NF3 Form / HCFA 1500 Form         9/2/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 162    Orthopain Supply Inc.   0681845360000003   9/13/2021    NF3 Form / HCFA 1500 Form         9/2/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 163    Orthopain Supply Inc.   0681845360000003   9/13/2021    NF3 Form / HCFA 1500 Form         9/2/2021     98960                   Education               $150.00
 164    Orthopain Supply Inc.   0681845360000003   9/13/2021    NF3 Form / HCFA 1500 Form         9/2/2021    A9901                     Delivery               $150.00
 165    Orthopain Supply Inc.   8710663330000001   9/17/2021    NF3 Form / HCFA 1500 Form         9/9/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 166    Orthopain Supply Inc.   8710663330000001   9/17/2021    NF3 Form / HCFA 1500 Form         9/9/2021     98960                   Education               $150.00
 167    Orthopain Supply Inc.   8710663330000001   9/17/2021    NF3 Form / HCFA 1500 Form         9/9/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 168    Orthopain Supply Inc.   8710663330000001   9/17/2021    NF3 Form / HCFA 1500 Form         9/9/2021    A9901                     Delivery               $150.00
 169    Orthopain Supply Inc.   0496298280101018   9/28/2021    NF3 Form / HCFA 1500 Form         9/23/2021    E0761            OrthoCor / PEMF Device        $4,500.00
 170    Orthopain Supply Inc.   0496298280101018   9/28/2021    NF3 Form / HCFA 1500 Form         9/23/2021   A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 171    Orthopain Supply Inc.   0496298280101018   9/28/2021    NF3 Form / HCFA 1500 Form         9/23/2021   A9901                     Delivery               $150.00
 172    Orthopain Supply Inc.   0496298280101018   9/28/2021    NF3 Form / HCFA 1500 Form         9/23/2021    98960                   Education               $150.00
 173    Orthopain Supply Inc.   8691478580000002   9/27/2021    NF3 Form / HCFA 1500 Form         8/19/2021   A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 174    Orthopain Supply Inc.   8691478580000002   9/27/2021    NF3 Form / HCFA 1500 Form         8/19/2021    98960                   Education               $150.00
 175    Orthopain Supply Inc.   8691478580000002   9/27/2021    NF3 Form / HCFA 1500 Form         8/19/2021   A9901                     Delivery               $150.00
 176    Orthopain Supply Inc.   8691478580000002   9/27/2021    NF3 Form / HCFA 1500 Form         8/19/2021    E0791            OrthoCor / PEMF Device        $4,500.00
 177    Orthopain Supply Inc.   0496298280101018   10/5/2021    NF3 Form / HCFA 1500 Form         9/23/2021    E0761            OrthoCor / PEMF Device        $4,500.00
 178    Orthopain Supply Inc.   0496298280101018   10/5/2021    NF3 Form / HCFA 1500 Form         9/23/2021   A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 179    Orthopain Supply Inc.   0496298280101018   10/5/2021    NF3 Form / HCFA 1500 Form         9/23/2021   A9901                     Delivery               $150.00
 180    Orthopain Supply Inc.   0496298280101018   10/5/2021    NF3 Form / HCFA 1500 Form         9/23/2021    98960                   Education               $150.00
 181    Orthopain Supply Inc.   0291279100101040   10/13/2021   NF3 Form / HCFA 1500 Form        10/6/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 182    Orthopain Supply Inc.   0291279100101040   10/13/2021   NF3 Form / HCFA 1500 Form        10/6/2021     98960                   Education               $150.00
 183    Orthopain Supply Inc.   0291279100101040   10/13/2021   NF3 Form / HCFA 1500 Form        10/6/2021    A9901                     Delivery               $150.00
 184    Orthopain Supply Inc.   0291279100101040   10/13/2021   NF3 Form / HCFA 1500 Form        10/6/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 185    Orthopain Supply Inc.   0316919830101095   10/25/2021   NF3 Form / HCFA 1500 Form        10/21/2021   A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 186    Orthopain Supply Inc.   0316919830101095   10/25/2021   NF3 Form / HCFA 1500 Form        10/21/2021    E0761            OrthoCor / PEMF Device        $4,500.00
 187    Orthopain Supply Inc.   0316919830101095   10/25/2021   NF3 Form / HCFA 1500 Form        10/21/2021   A9901                     Delivery               $150.00
 188    Orthopain Supply Inc.   0316919830101095   10/25/2021   NF3 Form / HCFA 1500 Form        10/21/2021    98960                   Education               $150.00
 189    Orthopain Supply Inc.   0606648530101084   10/25/2021   NF3 Form / HCFA 1500 Form        10/21/2021    E0791            OrthoCor / PEMF Device        $4,500.00
 190    Orthopain Supply Inc.   0606648530101084   10/25/2021   NF3 Form / HCFA 1500 Form        10/21/2021   A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 191    Orthopain Supply Inc.   0606648530101084   10/25/2021   NF3 Form / HCFA 1500 Form        10/21/2021   A9901                     Delivery               $150.00
 192    Orthopain Supply Inc.   0606648530101084   10/25/2021   NF3 Form / HCFA 1500 Form        10/21/2021    98960                   Education               $150.00
 193    Orthopain Supply Inc.   0623949780101026   10/25/2021   NF3 Form / HCFA 1500 Form        10/21/2021   A9901                     Delivery               $150.00
 194    Orthopain Supply Inc.   0623949780101026   10/25/2021   NF3 Form / HCFA 1500 Form        10/21/2021    98960                   Education               $150.00
 195    Orthopain Supply Inc.   0623949780101026   10/25/2021   NF3 Form / HCFA 1500 Form        10/21/2021    E0761            OrthoCor / PEMF Device        $4,500.00
 196    Orthopain Supply Inc.   0623949780101026   10/25/2021   NF3 Form / HCFA 1500 Form        10/21/2021   A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 197    Orthopain Supply Inc.   0623949780101026   10/25/2021   NF3 Form / HCFA 1500 Form        10/14/2021   A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 198    Orthopain Supply Inc.   0623949780101026   10/25/2021   NF3 Form / HCFA 1500 Form        10/14/2021   A9901                     Delivery               $150.00
 199    Orthopain Supply Inc.   0623949780101026   10/25/2021   NF3 Form / HCFA 1500 Form        10/14/2021    98960                   Education               $150.00
 200    Orthopain Supply Inc.   0623949780101026   10/25/2021   NF3 Form / HCFA 1500 Form        10/14/2021    E0761            OrthoCor / PEMF Device        $4,500.00
 201    Orthopain Supply Inc.   0805474980000001   10/25/2021   NF3 Form / HCFA 1500 Form        10/14/2021   A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 202    Orthopain Supply Inc.   0805474980000001   10/25/2021   NF3 Form / HCFA 1500 Form        10/14/2021    98960                   Education               $150.00
 203    Orthopain Supply Inc.   0805474980000001   10/25/2021   NF3 Form / HCFA 1500 Form        10/14/2021   A9901                     Delivery               $150.00
 204    Orthopain Supply Inc.   0805474980000001   10/25/2021   NF3 Form / HCFA 1500 Form        10/14/2021    E0761            OrthoCor / PEMF Device        $4,500.00
 205    Orthopain Supply Inc.   8708345230000001   10/25/2021   NF3 Form / HCFA 1500 Form        10/21/2021    E0761            OrthoCor / PEMF Device        $4,500.00
 206    Orthopain Supply Inc.   8708345230000001   10/25/2021   NF3 Form / HCFA 1500 Form        10/21/2021   A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 207    Orthopain Supply Inc.   8708345230000001   10/25/2021   NF3 Form / HCFA 1500 Form        10/21/2021    98960                   Education               $150.00
 208    Orthopain Supply Inc.   8708345230000001   10/25/2021   NF3 Form / HCFA 1500 Form        10/21/2021   A9901                     Delivery               $150.00
 209    Orthopain Supply Inc.   0316919830101095   10/25/2021   NF3 Form / HCFA 1500 Form        10/15/2021    E0761            OrthoCor / PEMF Device        $4,500.00
 210    Orthopain Supply Inc.   0316919830101095   10/25/2021   NF3 Form / HCFA 1500 Form        10/15/2021   A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 211    Orthopain Supply Inc.   0316919830101095   10/25/2021   NF3 Form / HCFA 1500 Form        10/15/2021    98960                   Education               $150.00
 212    Orthopain Supply Inc.   0316919830101095   10/25/2021   NF3 Form / HCFA 1500 Form        10/15/2021   A9901                     Delivery               $150.00
 213    Orthopain Supply Inc.   0666533730000006   11/5/2021    NF3 Form / HCFA 1500 Form        10/22/2021   A9901                     Delivery               $150.00
 214    Orthopain Supply Inc.   0666533730000006   11/5/2021    NF3 Form / HCFA 1500 Form        10/22/2021    E0761            OrthoCor / PEMF Device        $4,500.00
 215    Orthopain Supply Inc.   0666533730000006   11/5/2021    NF3 Form / HCFA 1500 Form        10/22/2021   A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 216    Orthopain Supply Inc.   0666533730000006   11/5/2021    NF3 Form / HCFA 1500 Form        10/22/2021    98960                   Education               $150.00
 217    Orthopain Supply Inc.   0676580010000001   11/15/2021   NF3 Form / HCFA 1500 Form        10/28/2021    E0761            OrthoCor / PEMF Device        $4,500.00
 218    Orthopain Supply Inc.   0676580010000001   11/15/2021   NF3 Form / HCFA 1500 Form        10/28/2021   A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 219    Orthopain Supply Inc.   0676580010000001   11/15/2021   NF3 Form / HCFA 1500 Form        10/28/2021    98960                   Education               $150.00
        Case 1:23-cv-03413-RPK-RER         Document 1-4 Filed 05/05/23 Page 5 of 6 PageID #: 76
                            Government Employees Insurance Company, et al v. Orthopain Supply Inc., et al
                                              Exhibit "2" - Representative Sample of Fraudulent Claims Identified to Date


RICO                                                Date of                                        Date of    HCPCS
             Defendant           Claim_Number                         Document Mailed                                            Product Description          Charge
Event                                               Mailing                                        Service     Code
 220    Orthopain Supply Inc.   0676580010000001   11/15/2021   NF3 Form / HCFA 1500 Form        10/28/2021   A9901                     Delivery               $150.00
 221    Orthopain Supply Inc.   0670388300000005   12/6/2021    NF3 Form / HCFA 1500 Form         12/3/2021    E0761            OrthoCor / PEMF Device        $4,500.00
 222    Orthopain Supply Inc.   0670388300000005   12/6/2021    NF3 Form / HCFA 1500 Form         12/3/2021   A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 223    Orthopain Supply Inc.   0670388300000005   12/6/2021    NF3 Form / HCFA 1500 Form         12/3/2021    98960                   Education               $150.00
 224    Orthopain Supply Inc.   0670388300000005   12/6/2021    NF3 Form / HCFA 1500 Form         12/3/2021   A9901                     Delivery               $150.00
 225    Orthopain Supply Inc.   0684372160000002   12/6/2021    NF3 Form / HCFA 1500 Form        11/29/2021    E0761            OrthoCor / PEMF Device        $4,500.00
 226    Orthopain Supply Inc.   0684372160000002   12/6/2021    NF3 Form / HCFA 1500 Form        11/29/2021   A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 227    Orthopain Supply Inc.   0684372160000002   12/6/2021    NF3 Form / HCFA 1500 Form        11/29/2021    98960                   Education               $150.00
 228    Orthopain Supply Inc.   0684372160000002   12/6/2021    NF3 Form / HCFA 1500 Form        11/29/2021   A9901                     Delivery               $150.00
 229    Orthopain Supply Inc.   0663732740000002   12/6/2021    NF3 Form / HCFA 1500 Form         12/3/2021    E0761            OrthoCor / PEMF Device        $4,500.00
 230    Orthopain Supply Inc.   0663732740000002   12/6/2021    NF3 Form / HCFA 1500 Form         12/3/2021   A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 231    Orthopain Supply Inc.   0663732740000002   12/6/2021    NF3 Form / HCFA 1500 Form         12/3/2021    98960                   Education               $150.00
 232    Orthopain Supply Inc.   0663732740000002   12/6/2021    NF3 Form / HCFA 1500 Form         12/3/2021   A9901                     Delivery               $150.00
 233    Orthopain Supply Inc.   0571922780000001   12/6/2021    NF3 Form / HCFA 1500 Form        11/30/2021    E0761            OrthoCor / PEMF Device        $4,500.00
 234    Orthopain Supply Inc.   0571922780000001   12/6/2021    NF3 Form / HCFA 1500 Form        11/30/2021   A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 235    Orthopain Supply Inc.   0571922780000001   12/6/2021    NF3 Form / HCFA 1500 Form        11/30/2021    98960                   Education               $150.00
 236    Orthopain Supply Inc.   0571922780000001   12/6/2021    NF3 Form / HCFA 1500 Form        11/30/2021   A9901                     Delivery               $150.00
 237    Orthopain Supply Inc.   0098087240101049   12/14/2021   NF3 Form / HCFA 1500 Form        12/9/2021    A9901                     Delivery               $150.00
 238    Orthopain Supply Inc.   0098087240101049   12/14/2021   NF3 Form / HCFA 1500 Form        12/9/2021     E0761            OrthoCor / PEMF Device        $4,500.00
 239    Orthopain Supply Inc.   0098087240101049   12/14/2021   NF3 Form / HCFA 1500 Form        12/9/2021    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 240    Orthopain Supply Inc.   0098087240101049   12/14/2021   NF3 Form / HCFA 1500 Form        12/9/2021     98960                   Education               $150.00
 241    Orthopain Supply Inc.   0647675190000007   12/20/2021   NF3 Form / HCFA 1500 Form        12/10/2021    E0761            OrthoCor / PEMF Device        $4,500.00
 242    Orthopain Supply Inc.   0647675190000007   12/20/2021   NF3 Form / HCFA 1500 Form        12/10/2021   A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 243    Orthopain Supply Inc.   0647675190000007   12/20/2021   NF3 Form / HCFA 1500 Form        12/10/2021   A9901                     Delivery               $150.00
 244    Orthopain Supply Inc.   0647675190000007   12/20/2021   NF3 Form / HCFA 1500 Form        12/10/2021    98960                   Education               $150.00
 245    Orthopain Supply Inc.   0668356880000001   12/30/2021   NF3 Form / HCFA 1500 Form        12/23/2021    E0761            OrthoCor / PEMF Device        $4,500.00
 246    Orthopain Supply Inc.   0668356880000001   12/30/2021   NF3 Form / HCFA 1500 Form        12/23/2021   A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 247    Orthopain Supply Inc.   0668356880000001   12/30/2021   NF3 Form / HCFA 1500 Form        12/23/2021   A9901                     Delivery               $150.00
 248    Orthopain Supply Inc.   0668356880000001   12/30/2021   NF3 Form / HCFA 1500 Form        12/23/2021    98960                   Education               $150.00
 249    Orthopain Supply Inc.   0404081220101013   12/30/2021   NF3 Form / HCFA 1500 Form        12/22/2021    E0761            OrthoCor / PEMF Device        $4,500.00
 250    Orthopain Supply Inc.   0404081220101013   12/30/2021   NF3 Form / HCFA 1500 Form        12/22/2021   A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 251    Orthopain Supply Inc.   0404081220101013   12/30/2021   NF3 Form / HCFA 1500 Form        12/22/2021    98960                   Education               $150.00
 252    Orthopain Supply Inc.   0404081220101013   12/30/2021   NF3 Form / HCFA 1500 Form        12/22/2021   A9901                     Delivery               $150.00
 253    Orthopain Supply Inc.   0395911780101087    1/4/2022    NF3 Form / HCFA 1500 Form        12/27/2021    E0761            OrthoCor / PEMF Device        $4,500.00
 254    Orthopain Supply Inc.   0395911780101087    1/4/2022    NF3 Form / HCFA 1500 Form        12/27/2021   A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 255    Orthopain Supply Inc.   0395911780101087    1/4/2022    NF3 Form / HCFA 1500 Form        12/27/2021    98960                   Education               $150.00
 256    Orthopain Supply Inc.   0395911780101087    1/4/2022    NF3 Form / HCFA 1500 Form        12/27/2021   A9901                     Delivery               $150.00
 257    Orthopain Supply Inc.   0590908520101017    1/4/2022    NF3 Form / HCFA 1500 Form        12/24/2021    E0761            OrthoCor / PEMF Device        $4,500.00
 258    Orthopain Supply Inc.   0590908520101017    1/4/2022    NF3 Form / HCFA 1500 Form        12/24/2021   A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 259    Orthopain Supply Inc.   0590908520101017    1/4/2022    NF3 Form / HCFA 1500 Form        12/24/2021    98960                   Education               $150.00
 260    Orthopain Supply Inc.   0590908520101017    1/4/2022    NF3 Form / HCFA 1500 Form        12/24/2021   A9901                     Delivery               $150.00
 261    Orthopain Supply Inc.   0496444200101017    1/4/2022    NF3 Form / HCFA 1500 Form        12/28/2021    E0761            OrthoCor / PEMF Device        $4,500.00
 262    Orthopain Supply Inc.   0496444200101017    1/4/2022    NF3 Form / HCFA 1500 Form        12/28/2021   A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 263    Orthopain Supply Inc.   0496444200101017    1/4/2022    NF3 Form / HCFA 1500 Form        12/28/2021    98960                   Education               $150.00
 264    Orthopain Supply Inc.   0496444200101017    1/4/2022    NF3 Form / HCFA 1500 Form        12/28/2021   A9901                     Delivery               $150.00
 265    Orthopain Supply Inc.   0526233800101032   1/11/2022    NF3 Form / HCFA 1500 Form         1/3/2022     E0761            OrthoCor / PEMF Device        $4,500.00
 266    Orthopain Supply Inc.   0526233800101032   1/11/2022    NF3 Form / HCFA 1500 Form         1/3/2022    A9901                     Delivery               $150.00
 267    Orthopain Supply Inc.   0526233800101032   1/11/2022    NF3 Form / HCFA 1500 Form         1/3/2022     98960                   Education               $150.00
 268    Orthopain Supply Inc.   0526233800101032   1/11/2022    NF3 Form / HCFA 1500 Form         1/3/2022    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 269    Orthopain Supply Inc.   0404081220101013   1/12/2022    NF3 Form / HCFA 1500 Form         1/4/2022     E0761            OrthoCor / PEMF Device        $4,500.00
 270    Orthopain Supply Inc.   0404081220101013   1/12/2022    NF3 Form / HCFA 1500 Form         1/4/2022    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 271    Orthopain Supply Inc.   0404081220101013   1/12/2022    NF3 Form / HCFA 1500 Form         1/4/2022     98960                   Education               $150.00
 272    Orthopain Supply Inc.   0404081220101013   1/12/2022    NF3 Form / HCFA 1500 Form         1/4/2022    A9901                     Delivery               $150.00
 273    Orthopain Supply Inc.   0008787400104076   1/19/2022    NF3 Form / HCFA 1500 Form         1/6/2022    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 274    Orthopain Supply Inc.   0008787400104076   1/19/2022    NF3 Form / HCFA 1500 Form         1/6/2022     98960                   Education               $150.00
 275    Orthopain Supply Inc.   0008787400104076   1/19/2022    NF3 Form / HCFA 1500 Form         1/6/2022    A9901                     Delivery               $150.00
 276    Orthopain Supply Inc.   0008787400104076   1/19/2022    NF3 Form / HCFA 1500 Form         1/6/2022     E0761            OrthoCor / PEMF Device        $4,500.00
 277    Orthopain Supply Inc.   0515017070101039   1/19/2022    NF3 Form / HCFA 1500 Form         1/11/2022    E0761            OrthoCor / PEMF Device        $4,500.00
 278    Orthopain Supply Inc.   0515017070101039   1/19/2022    NF3 Form / HCFA 1500 Form         1/11/2022   A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 279    Orthopain Supply Inc.   0515017070101039   1/19/2022    NF3 Form / HCFA 1500 Form         1/11/2022    98960                   Education               $150.00
 280    Orthopain Supply Inc.   0515017070101039   1/19/2022    NF3 Form / HCFA 1500 Form         1/11/2022   A9901                     Delivery               $150.00
 281    Orthopain Supply Inc.   0515017070101039   1/19/2022    NF3 Form / HCFA 1500 Form         1/11/2022    E0761            OrthoCor / PEMF Device        $4,500.00
 282    Orthopain Supply Inc.   0515017070101039   1/19/2022    NF3 Form / HCFA 1500 Form         1/11/2022   A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 283    Orthopain Supply Inc.   0515017070101039   1/19/2022    NF3 Form / HCFA 1500 Form         1/11/2022    98960                   Education               $150.00
 284    Orthopain Supply Inc.   0515017070101039   1/19/2022    NF3 Form / HCFA 1500 Form         1/11/2022   A9901                     Delivery               $150.00
 285    Orthopain Supply Inc.   0646360750101051   1/19/2022    NF3 Form / HCFA 1500 Form         1/4/2022    A9901                     Delivery               $150.00
 286    Orthopain Supply Inc.   0646360750101051   1/19/2022    NF3 Form / HCFA 1500 Form         1/4/2022     E0761            OrthoCor / PEMF Device        $4,500.00
 287    Orthopain Supply Inc.   0646360750101051   1/19/2022    NF3 Form / HCFA 1500 Form         1/4/2022    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 288    Orthopain Supply Inc.   0646360750101051   1/19/2022    NF3 Form / HCFA 1500 Form         1/4/2022     98960                   Education               $150.00
 289    Orthopain Supply Inc.   8741128900000001   1/19/2022    NF3 Form / HCFA 1500 Form         1/7/2022     E0761            OrthoCor / PEMF Device        $4,500.00
 290    Orthopain Supply Inc.   8741128900000001   1/19/2022    NF3 Form / HCFA 1500 Form         1/7/2022    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 291    Orthopain Supply Inc.   8741128900000001   1/19/2022    NF3 Form / HCFA 1500 Form         1/7/2022     98960                   Education               $150.00
 292    Orthopain Supply Inc.   8741128900000001   1/19/2022    NF3 Form / HCFA 1500 Form         1/7/2022    A9901                     Delivery               $150.00
        Case 1:23-cv-03413-RPK-RER         Document 1-4 Filed 05/05/23 Page 6 of 6 PageID #: 77
                            Government Employees Insurance Company, et al v. Orthopain Supply Inc., et al
                                              Exhibit "2" - Representative Sample of Fraudulent Claims Identified to Date


RICO                                                Date of                                       Date of     HCPCS
             Defendant           Claim_Number                         Document Mailed                                            Product Description          Charge
Event                                               Mailing                                       Service      Code
 293    Orthopain Supply Inc.   0183732530101104    2/7/2022    NF3 Form / HCFA 1500 Form         2/2/2022     E0761            OrthoCor / PEMF Device        $4,500.00
 294    Orthopain Supply Inc.   0183732530101104    2/7/2022    NF3 Form / HCFA 1500 Form         2/2/2022    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 295    Orthopain Supply Inc.   0183732530101104    2/7/2022    NF3 Form / HCFA 1500 Form         2/2/2022     98960                   Education               $150.00
 296    Orthopain Supply Inc.   0183732530101104    2/7/2022    NF3 Form / HCFA 1500 Form         2/2/2022    A9901                     Delivery               $150.00
 297    Orthopain Supply Inc.   0671905480000002   2/17/2022    NF3 Form / HCFA 1500 Form        2/14/2022     E0761            OrthoCor / PEMF Device        $4,500.00
 298    Orthopain Supply Inc.   0671905480000002   2/17/2022    NF3 Form / HCFA 1500 Form        2/14/2022    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 299    Orthopain Supply Inc.   0671905480000002   2/17/2022    NF3 Form / HCFA 1500 Form        2/14/2022     98960                   Education               $150.00
 300    Orthopain Supply Inc.   0671905480000002   2/17/2022    NF3 Form / HCFA 1500 Form        2/14/2022    A9901                     Delivery               $150.00
 301    Orthopain Supply Inc.   0646360750101051   2/17/2022    NF3 Form / HCFA 1500 Form         2/9/2022     E0761            OrthoCor / PEMF Device        $4,500.00
 302    Orthopain Supply Inc.   0646360750101051   2/17/2022    NF3 Form / HCFA 1500 Form         2/9/2022    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 303    Orthopain Supply Inc.   0646360750101051   2/17/2022    NF3 Form / HCFA 1500 Form         2/9/2022     98960                   Education               $150.00
 304    Orthopain Supply Inc.   0646360750101051   2/17/2022    NF3 Form / HCFA 1500 Form         2/9/2022    A9901                     Delivery               $150.00
 305    Orthopain Supply Inc.   8740647780000002   2/17/2022    NF3 Form / HCFA 1500 Form        2/14/2022     E0761            OrthoCor / PEMF Device        $4,500.00
 306    Orthopain Supply Inc.   8740647780000002   2/17/2022    NF3 Form / HCFA 1500 Form        2/14/2022     98960                   Education               $150.00
 307    Orthopain Supply Inc.   8740647780000002   2/17/2022    NF3 Form / HCFA 1500 Form        2/14/2022    A9901                     Delivery               $150.00
 308    Orthopain Supply Inc.   8740647780000002   2/17/2022    NF3 Form / HCFA 1500 Form        2/14/2022    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 309    Orthopain Supply Inc.   0429743990101172   2/17/2022    NF3 Form / HCFA 1500 Form        2/14/2022     E0761            OrthoCor / PEMF Device        $4,500.00
 310    Orthopain Supply Inc.   0429743990101172   2/17/2022    NF3 Form / HCFA 1500 Form        2/14/2022    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 311    Orthopain Supply Inc.   0429743990101172   2/17/2022    NF3 Form / HCFA 1500 Form        2/14/2022     98960                   Education               $150.00
 312    Orthopain Supply Inc.   0429743990101172   2/17/2022    NF3 Form / HCFA 1500 Form        2/14/2022    A9901                     Delivery               $150.00
 313    Orthopain Supply Inc.   0406900690101011   2/21/2022    NF3 Form / HCFA 1500 Form         2/9/2022     E0761            OrthoCor / PEMF Device        $4,500.00
 314    Orthopain Supply Inc.   0406900690101011   2/21/2022    NF3 Form / HCFA 1500 Form         2/9/2022    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 315    Orthopain Supply Inc.   0406900690101011   2/21/2022    NF3 Form / HCFA 1500 Form         2/9/2022     98960                   Education               $150.00
 316    Orthopain Supply Inc.   0406900690101011   2/21/2022    NF3 Form / HCFA 1500 Form         2/9/2022    A9901                     Delivery               $150.00
 317    Orthopain Supply Inc.   0406900690101011   2/21/2022    NF3 Form / HCFA 1500 Form         2/9/2022     E0761            OrthoCor / PEMF Device        $4,500.00
 318    Orthopain Supply Inc.   0406900690101011   2/21/2022    NF3 Form / HCFA 1500 Form         2/9/2022    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 319    Orthopain Supply Inc.   0406900690101011   2/21/2022    NF3 Form / HCFA 1500 Form         2/9/2022     98960                   Education               $150.00
 320    Orthopain Supply Inc.   0406900690101011   2/21/2022    NF3 Form / HCFA 1500 Form         2/9/2022    A9901                     Delivery               $150.00
 321    Orthopain Supply Inc.   0406900690101011   2/21/2022    NF3 Form / HCFA 1500 Form         2/9/2022     E0761            OrthoCor / PEMF Device        $4,500.00
 322    Orthopain Supply Inc.   0406900690101011   2/21/2022    NF3 Form / HCFA 1500 Form         2/9/2022    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 323    Orthopain Supply Inc.   0406900690101011   2/21/2022    NF3 Form / HCFA 1500 Form         2/9/2022     98960                   Education               $150.00
 324    Orthopain Supply Inc.   0406900690101011   2/21/2022    NF3 Form / HCFA 1500 Form         2/9/2022    A9901                     Delivery               $150.00
 325    Orthopain Supply Inc.   0505364550101023    3/4/2022    NF3 Form / HCFA 1500 Form        2/24/2022     E0761            OrthoCor / PEMF Device        $4,500.00
 326    Orthopain Supply Inc.   0505364550101023    3/4/2022    NF3 Form / HCFA 1500 Form        2/24/2022    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 327    Orthopain Supply Inc.   0505364550101023    3/4/2022    NF3 Form / HCFA 1500 Form        2/24/2022     98960                   Education               $150.00
 328    Orthopain Supply Inc.   0505364550101023    3/4/2022    NF3 Form / HCFA 1500 Form        2/24/2022    A9901                     Delivery               $150.00
 329    Orthopain Supply Inc.   0559006300101022   3/14/2022    NF3 Form / HCFA 1500 Form         3/9/2022     E0761            OrthoCor / PEMF Device        $4,500.00
 330    Orthopain Supply Inc.   0559006300101022   3/14/2022    NF3 Form / HCFA 1500 Form         3/9/2022    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 331    Orthopain Supply Inc.   0606648530101084   3/21/2022    NF3 Form / HCFA 1500 Form         3/9/2022     E0761            OrthoCor / PEMF Device        $4,500.00
 332    Orthopain Supply Inc.   0606648530101084   3/21/2022    NF3 Form / HCFA 1500 Form         3/9/2022    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 333    Orthopain Supply Inc.   0676602320000002   3/21/2022    NF3 Form / HCFA 1500 Form        3/11/2022     E0761            OrthoCor / PEMF Device        $4,500.00
 334    Orthopain Supply Inc.   0676602320000002   3/21/2022    NF3 Form / HCFA 1500 Form        3/11/2022    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 335    Orthopain Supply Inc.   8737384570000001   3/21/2022    NF3 Form / HCFA 1500 Form         3/9/2022     E0761            OrthoCor / PEMF Device        $4,500.00
 336    Orthopain Supply Inc.   8737384570000001   3/21/2022    NF3 Form / HCFA 1500 Form         3/9/2022    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 337    Orthopain Supply Inc.   0590908520101017   3/28/2022    NF3 Form / HCFA 1500 Form        3/24/2022     E0761            OrthoCor / PEMF Device        $4,500.00
 338    Orthopain Supply Inc.   0590908520101017   3/28/2022    NF3 Form / HCFA 1500 Form        3/24/2022    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
 339    Orthopain Supply Inc.   0684122680000001   1/11/2022    NF3 Form / HCFA 1500 Form         1/5/2022     98960                   Education               $150.00
 340    Orthopain Supply Inc.   0684122680000001   1/11/2022    NF3 Form / HCFA 1500 Form         1/5/2022    A9901                     Delivery               $150.00
 341    Orthopain Supply Inc.   0684122680000001   1/11/2022    NF3 Form / HCFA 1500 Form         1/5/2022     E0761            OrthoCor / PEMF Device        $4,500.00
 342    Orthopain Supply Inc.   0684122680000001   1/11/2022    NF3 Form / HCFA 1500 Form         1/5/2022    A9900         Pods for OrthoCor / PEMF Device   $1,275.00
